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               EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF WASHINGTON D.C.


 Stephen Thaler, an individual, 1767 Waterfall Dr.,     Case No. : 1:22-cv-01564
 St. Charles, MO 63303,
                    Plaintiff,                          COMPLAINT
        v.

 Shira Perlmutter, in her official capacity as
 Register of Copyrights and Director of the United
 States Copyright Office; and The United States
 Copyright Office, 101 Independence Ave., S.E.,
 Washington, D.C. 20559-6000,

                    Defendants.




       Plaintiff Stephen Thaler (“Dr. Thaler”) complains and alleges against Defendant Shira

Perlmutter (the “Register”), in her official capacity as the Register of Copyrights and Director of

the United States Copyright Office, and Defendant the United States Copyright Office (“USCO,”

and together with Register, the “Defendants”) as follows:

                                     NATURE OF ACTION

       1.      Dr. Thaler is in the business of developing and applying advanced artificial

intelligence (AI) systems capable of generating creative output that would historically qualify for

copyright protection and that are made under conditions in which no natural person contributed

to the work as a traditional author (“AI-Generated Works”).




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       2.      Dr. Thaler filed to register copyright for an AI-Generated Work with USCO. The

application named the AI as the author and Dr. Thaler as the owner of the copyright in the work.

       3.      Defendants, in a final agency action, denied the copyright registration application

on the basis that an AI-Generated Work “lacks the human authorship necessary to support a

copyright claim.”

       4.      Defendants also denied the copyright registration on the basis that Dr. Thaler was

not entitled to apply for copyright registration for his submitted work.

       5.      The denial creates a novel requirement for copyright registration that is contrary

to the plain language of the Copyright Act (“Act”), contrary to the statutory purpose of the Act,

and contrary to the Constitutional mandate to promote the progress of science.

       6.      The denials are subject to judicial review under the Administrative Procedure Act

(APA) 5 U.S.C. § 704. Plaintiff seeks injunctive and other relief as set forth below.

       7.      AI is continually getting better at creating AI-Generated Works. These works are

going to be profoundly economically and socially disruptive, as they evolve from essentially

academic pursuits to those having significant commercial value, including in the context of

personalized music, journalism, and digital art.

                                 JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction and is authorized to issue the relief

sought under 5 U.S.C. §§ 701-06, 28 U.S.C. §§ 1331, 1338(a), 1361, and 2201-2022.

       9.      Venue is proper in this district under 28 U.S.C. § 1391(e).

                                            PARTIES

       10.     Plaintiff Dr. Stephen Thaler is an individual who resided in the State of Missouri

at all times relevant to this complaint.



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        11.     As described more fully below, Plaintiff is the applicant for the copyright

registration.

        12.     Defendant Shira Perlmutter is named in her official capacity as the Register of

Copyrights and Director of the United States Copyright Office. Under 17 U.S.C. § 701, the

powers and duties of the Copyright Office are vested in the Register.

        13.     Defendant the United States Copyright Office (USCO) is a department of the

Library of Congress, responsible for registering copyright claims and maintaining records of

copyright ownership.

                                  FACTUAL BACKGROUND

I.      HISTORY OF THE APPLICATION

        14.     Plaintiff is in the business of developing and using AI systems including those

capable of creating “AI-Generated Works,” here referring to output that would traditionally

qualify for copyright protection and made under conditions in which no natural person

contributed to the work as a traditional author.

        15.     The present case involves Plaintiff’s application to register a copyright for an AI-

Generated Work produced by one of Plaintiff’s AI systems referred to as a “Creativity Machine.”

The work is the two-dimensional artwork (“The Work”) titled “A Recent Entrance to Paradise,”

reproduced below:




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       16.     On November 3, 2018, Plaintiff filed an application (#1-7100387071) to register

the Work with the USCO.

       17.     In the application, Plaintiff identified the author of the Work as the “Creativity

Machine,” and noted it was “Created autonomously by machine.” Plaintiff listed himself as the

“Copyright Claimant” alongside a transfer statement labelled “Ownership of the Machine.”

       18.     Plaintiff separately noted in the application that the Work was autonomously

created by a computer and that he was entitled to own the copyright in the Work including by

virtue of the work made for hire doctrine.

       19.     On August 12, 2019, the USCO refused to register the claim based on the lack of

human authorship. That refusal stated, “We cannot register this work because it lacks the human

authorship necessary to support a copyright claim. According to your application this work was

‘created autonomously by machine.’” The refusal did not address Dr. Thaler’s entitlement to any

copyright in the Work.



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II.    PLAINTIFF’S REQUESTS FOR RECONSIDERATION

       20.     Plaintiff filed two requests for reconsideration to the USCO on September 23,

2019, and May 27, 2020, respectively. Plaintiff confirmed that the submission lacked traditional

human authorship. However, Plaintiff argued that the USCO’s human authorship requirement

was unsupported by law.

       21.     In denying the first request for reconsideration, the USCO reiterated its response

that the copyright law only protects “the fruits of intellectual labor” that “are founded in the

creative powers of the mind.” Citing to In re Trade-Mark Cases, 100 U.S. 82, 94 (1879). The

USCO stated that since copyright law is limited to “original intellectual conceptions of the

author,” it refused to register the claim because it determined a human being did not create the

Work. The USCO again cited to Burrow-Giles Lithographic Co. v. Sarony, 111 U.S. 53, 58

(1884), 17 U.S.C. § 102(a), and the Compendium of U.S. Copyright Office Practices § 306 (3d

ed. 2017).

       22.     On February 14, 2022, the USCO reconsidered Plaintiff’s request the second time,

and again refused to register the Work. The USCO accepted that the Work was autonomously

created by artificial intelligence without any creative contribution from a human actor. Citing

again to In re Trade-Mark Cases, the USCO stated that Plaintiff had failed to either provide

evidence that the Work is the product of human authorship or convince the USCO to “depart

from a century of copyright jurisprudence.” Since there was no issue of human author

involvement, the USCO limited its review to whether the human authorship requirement was

unconstitutional and unsupported by case law.

       23.     The USCO acknowledge that the phrase “original work of authorship” was

“purposefully left undefined” by Congress in order to “incorporate without change the standard



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of originality established by the courts under the [1909] copyright statute[,]” citing to H.R. Rep.

No. 94-1476, at 51 (1976). The USCO also acknowledged that the Act leaves “unquestionably

other areas of existing subject matter that [Bill 94-1476 did] not propose to protect but that future

Congresses may want to.”

       24.     The USCO cited again to Burrow-Giles Lithographic Co., stating that copyright

was afforded to photographers because photographs are “representatives of original intellectual

conceptions of [an] author.” Id., at 57-59. Pointing out that the court referred to “authors” as

human there. Id., at 58. Citing to Mazer v. Stein, the USCO stated that the Supreme Court

defined an author as someone who “may be viewed as an individual who writes an original

composition,” stating “the term in its constitutional sense, has been construed to mean an

‘originator,’ ‘he to whom anything owes its origin.’” USCO argues this requires human

authorship as an essential element of protection.

       25.     Providing additional examples for its decision, the USCO also referred to Urantia

Found v. Kristen Maaherra, 114 F.3d 955, 957-959 (9th Cir. 1997), arguing the court refused to

extend copyright protection to non-human creations. The USCO additionally referred to Naruto

v. Slater, 888 F.3d 418, 426 (9th Cir. 2018) arguing a monkey cannot register a copyright

because the Act specifically referred to an author’s “children,” “widow,” “grandchildren,” and

“widower,” which necessarily implied humans and excluded animals. The USCO acknowledged

that it was unaware whether a court had considered the authorship of a copyright by artificial

intelligence, but held that the decisions rejecting registration for non-human spiritual beings and

animals supported its position.

       26.     The USCO also cited to the National Commission on New Technological Uses of

Copyrighted Works (“CONTU”) as support of its position. CONTU was mandated, in part, to



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study the “creation of new works by the application or intervention of [] automatic systems of

machine reproduction.” In the final report in 1979, CONTU determined that the existing judicial

construction requiring human authorship sufficiently enabled protection for works created with

the use of computers, and that no amendment to copyright law was needed. CONTU specifically

stated that eligibility of registration did not depend on the use of devices in its creation, but rather

if there was the presence of at least minimal human creative effort at the time it was produced.

The USCO failed to recognize that the language cited from CONTU did not specifically address

works created solely by computers as it was assumed it was not possible for a machine to create

autonomously at the time.

        27.     However, it stated that CONTU’s position mirrored that of the USCO. The USCO

stated that the practice manual for the office — the Compendium of U.S. Copyright Office

Practices — “has long mandated human authorship for registration.” The original Compendium

implied that a work must owe its origin to a human being, and that materials provided solely by

nature, by plants, or by animals were not copyrightable. Following that reasoning, the current

Compendium provided examples of works that were not copyrightable, including automated

computer translations, derivative sound recordings made purely by mechanical processes, human

performance required for choreography and pantomimes, machine produced expression in visual

arts works such as linoleum flooring, x-rays and other medical imaging, or hypertext markup

language if created by a human being rather than a website design program.

        28.     Finally, the USCO stated that its position was supported by a recent report from

the U.S. Patent and Trademark Office, where it sought public comment on whether a “work

produced by an AI algorithm or process, without the involvement of a natural person…

qualif[ies] as a work of authorship under the Copyright Act.” It indicated in its report that the



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“vast majority of commenters acknowledged that existing law does not permit a non-human to be

an author [and that] this should remain the law.” U.S. PATENT AND TRADEMARK OFFICE,

PUBLIC VIEWS ON ARTIFICIAL INTELLIGENCE AND INTELLECTUAL PROPERTY

POLICY at 19-21 (2020).

III.     USCO’S DENIAL OF COPYRIGHT REGISTRATION IS AN ARBITRARY AND

CAPRICIOUS AGENCY ACTION AND NOT IN ACCORDANCE WITH THE LAW

                   A. The Plain Language of the Act Allows Protection of AI-Generated Works

         29.   The Act affords protection to “original works of authorship,” a phrase which

Congress left purposely undefined and for interpretation by the courts. 17 U.S.C. § 102(a). At no

point does the Act limit authorship to natural persons. Indeed, corporations and other non-human

entities have been considered “authors” for purposes of the Act for over a century. 17 U.S.C.

§ 101.

         30.   The bar for originality is low. “To qualify for copyright protection, a work must

be original to the author.” Feist Publications, Inc. v. Rural Telephone Service Company, Inc.,

499 U.S. 340, 345 (1991) (citation omitted). “Original, as the term is used in copyright, means

only that the work was independently created by the author (as opposed to copied from other

works), and that it possesses at least some minimal degree of creativity.” Id., at 345 (citation

omitted).

         31.   The Work meets all the requirements for copyright protection. Indeed, if Dr.

Thaler had submitted the same AI-Generated Work with his company listed as the author, USCO

would have granted his company a registration, and no one would have known the work was AI-

Generated. The USCO argues that this is not cause for concern because “[a]pplicants who

mislead the Office do so at their peril.” But contrary to the USCO’s argument, the USCO does



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not test, or have a means to test, to see if a registration is being submitted for an AI-Generated

Work, and USCO does not require, at least for works made for hire, that a human author be

disclosed in a registration filing. It is very likely that other applicants have successfully

registered copyright in AI-Generated Works without exhibiting Dr. Thaler’s level of

transparency.

        32.     Copyright protection for AI-Generated Works is entirely consistent with the text

and purpose of the Act. It would promote the use and development of creative AIs which would

generate socially and commercially valuable works, and it would protect the moral rights of

human authors by preventing someone from falsely claiming credit for work done by a machine.

                    B. No Case Law Stands for the Proposition that an AI-Generated Work is

                        Ineligible for Copyright Protection

        33.     The USCO cites to In re Trade-Mark Cases, 100 U.S. 82, 94 (1879) and to

Burrow-Giles Lithographic Co. v. Sarony, 111 U.S. 53, 57 (1884) in support of its Human

Authorship Requirement. Compendium of U.S. Copyright Office Practices, Third Edition,

Section 306. This Human Authorship Requirement, of course, is a Copyright Office policy—not

something created by statute. In fact, it is contrary to statute.

        34.     Certainly, any number of judicial opinions have discussed originality in the

context of human-centric mental activity, but none of those opinions have considered an AI-

Generated Work. It is hardly surprising that judgments from the Gilded Age would fail to

consider the possibility of AI stepping into the shoes of a person and generating something

creative. Dicta from such cases should therefore not be taken out of context to create a blanket

prohibition on an entire field of publicly beneficial activity.




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        35.      The appropriate takeaway from Burrow-Giles—which involved the Supreme

Court holding for the first time that a photograph was eligible for copyright protection—is not

that an AI cannot be an author, but rather that our courts have a long history of purposive

interpretation of the Act in light of technological evolution.

        36.      Technology has advanced considerably since CONTU determined that AI-

Generated Works were too speculative to consider in 1979. See NAT’L COMM’N ON NEW

TECH. USES OF COPYRIGHTED WORKS, FINAL REPORT ON NEW TECHNOLOGICAL

USES OF COPYRIGHTED WORKS 44 (1979). Today, AI can autonomously create works

indistinguishable from a human being in terms of original and creative output. Applications

allowing users and companies to utilize such AI to create AI-Generated Works are commercially

available and rapidly increasing in use. See, e.g., https://aiartists.org/ai-generated-art-tools.; see,

generally, https://aiindex.stanford.edu/report/. AI, including Dr. Thaler’s AI, are capable of

producing creative output that, at least functionally, is equivalent to “the fruits of intellectual

labor” that “are founded in the creative powers of the mind.” In re Trade-Mark Cases, 100 U.S.

82, 94 (1879).

        37.      Courts associating mental activity with originality have not been using terms

precisely or meaningfully in the context of AI-Generated Works. The problem of speaking

precisely about such concepts with regards to computers was identified by Alan Turing, one of

the founders of computer science, who in 1950 considered the question, “Can machines think?”

See A.M. Turing, Computing Machinery and Intelligence, 59 MIND 433, 433–51 (1950). He

found the question to be ambiguous, and the term “think” to be unscientific in its colloquial

usage. Id.




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       38.     Turing decided the better question to address was whether an individual could tell

the difference between responses from a computer and an individual; rather than asking whether

machines “think,” he asked whether machines could perform in the same manner as thinking

entities. Id. Turing’s analysis from more than sixty years ago demonstrates that a test based on

whether a machine is exhibiting “mental activity” would be ambiguous, challenging to

administer, and of uncertain utility. The real question is whether a machine can make something

indistinguishable from a person for purposes of copyright protection. The answer, as an

undisputed factual matter here, is yes.

       39.     In addition to cases where courts have used human-centric language, USCO cites

to two 9th Circuit cases it argues involves facts analogous to AI activity: animal art and works

allegedly authored by spirits. First, neither is an appropriate analogy to AI-Generated Works.

Second, neither case stands for the proposition claimed by USCO.

       40.     Naruto v. Slater involved a series of images that a black crested black macaque,

named Naruto, took of himself in Indonesia. Naruto, by and through his Next Friends, People for

the Ethical Treatment of Animals, Inc. (PETA), sued David Slater, who owned the camera used

by Naruto and who subsequently used Naruto’s photographs without permission. While USCO is

correct that the case was dismissed, this was not based on the USCO’s Human Authorship

Requirement. The case was dismissed based on standing. As the 9th Circuit Court articulated,

“We must determine whether a monkey may sue humans, corporations, and companies for

damages and injunctive relief arising from claims of copyright infringement. Our court’s

precedent requires us to conclude that the monkey’s claim has standing under Article III of the

United States Constitution. Nonetheless, we conclude that this monkey—and all animals, since




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they are not human—lacks statutory standing under the Copyright Act. We therefore affirm the

judgment of the district court.” Naruto v. Slater, 888 F.3d 418, 420 (9th Cir. 2018).

       41.     The present case, unlike Naruto, involves a human being suing for his ownership

rights to property made by his machine. There is clearly no standing issue of the sort at issue in

Naruto. If anything, Naruto emphasizes the importance of a purposive approach to statutory

interpretation rather than a hyper-literal, textualist approach combined with over-reliance on

dicta. Because, of course, if the 9th Circuit had literally intended for animals to be unable to sue

under the Act, such a holding would prohibit many lawsuits. Human beings are, obviously,

animals.

       42.     USCO also cites to, Urantia Foundation v. Maaherra, 114 F.3d 955 (9th Cir.

1997), which involved a book allegedly authored in part by a spiritual being. While a very

interesting case in its own right and for a variety of reasons unrelated to AI-Generated Works,

the 9th Circuit found that the book was protected by copyright regardless of any spiritual

influences. “For copyright purposes, however, a work is copyrightable if copyrightability is

claimed by the first human beings who compiled, selected, coordinated, and arranged the Urantia

teachings, ‘in such a way that the resulting work as a whole constitutes an original work of

authorship.’” Id. at 958. “We hold that the human selection and arrangement of the revelations in

this case could not have been so ‘mechanical or routine as to require no creativity whatsoever.’

We conclude, therefore, that the ‘extremely low’ threshold level of creativity required for

copyright protection has been met in this case. Id. at 959 (citing Feist, supra, 499 at 345 (“The

vast majority of works make the grade quite easily, as they possess some creative spark, ‘no

matter how crude, humble, or obvious it might be.’”)




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       43.      The 9th Circuit even noted that, “The copyright laws, of course, do not expressly

require ‘human’ authorship, and considerable controversy has arisen in recent years over the

copyrightability of [AI-Generated Works].” Id. at 958. Without addressing the protectability of

AI-Generated Works, the 9th Circuit held that, “[a]t the very least, for a worldly entity to be

guilty of infringing a copyright, that entity must have copied something created by another

worldly entity.” Id. at 958. The present case lacks, on information and belief, any divine

intervention.

       44.      There is nothing mystical about AI-Generated Works—Dr. Thaler’s AI is the

result of decades of his research and investment. Investment which the Act is intended to

promote, along with the distribution of creative works. “Nothing in the text of the Copyright

Clause confines the “Progress of Science” exclusively to “incentives for creation.” Golan v.

Holder, 565 U.S. 302 (2012). In Golan, the Supreme Court notes that inducing the dissemination

of works by itself is an appropriate means to promote science.

                   C. Dr. Thaler is Entitled to The Work Under Common Law Principles of

                       Property Ownership Including Accession and First Possession

       45.      Copyright in a work can initially vest in an author. “Copyright in a work protected

under this title vests initially in the author or authors of the work.” 17 U.S.C. § 201(a). However,

it is often the case that copyright in a work will instead initially vest in an author’s employer, or

in a party for whom a work was prepared. “In the case of a work made for hire, the employer or

other person for whom the work was prepared is considered the author for purposes of this title,

and, unless the parties have expressly agreed otherwise in a written instrument signed by them,

owns all of the rights comprised in the copyright.” 17 U.S.C. § 201(b). In addition, the ownership

of copyright may be transferred by operation of law. “The ownership of a copyright may be



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transferred in whole or in part by any means of conveyance or by operation of law, and may be

bequeathed by will or pass as personal property by the applicable laws of intestate succession.”

17 U.S.C. § 201(d)(1).

          46.    An AI is not a legal person and does not have rights. It is therefore not possible

for an AI to “own” intellectual property. An AI that creates an AI-Generated Work does not do

so as a legal “employee” per se. It does so, at least in the present case, in its capacity as personal

property.

          47.    Dr. Thaler owns and operates the AI which created The Work. He is therefore

entitled to property created by his AI under principles and rules of property ownership including

accession and first possession.

          48.    It is generally the case that where property creates additional property, the owner

of the original property is entitled to the subsequent property. This rule, sometimes referred to as

accession, applies in a variety of contexts. If a person owns a cow that births a calf, the cow’s

owner becomes calf’s owner. If a person owns a fruit tree that bears fruit, the tree’s owner owns

the fruit. The tree owner derives title to the fruit through the tree, but this does not require the

tree to execute a written document that transfers title to the fruit—the title to the fruit initially

vests in the tree’s owner by virtue of her relationship to the fruit tree.1 See generally Thomas W.

Merrill, Accession and Original Ownership, JOURNAL OF LEGAL ANALYSIS, 459-505

(2009).




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    In some cases, third parties may have conflicting entitlement claims, such as a party picking

fruit, but there are no conflicting claims to entitlement in the present case. Dr. Thaler is the only

possible owner of The Work.


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        49.     Here, Dr. Thaler’s AI generated a piece of intellectual property that Dr. Thaler

owns because he owns the AI. If the AI had been a 3D printer that created a physical painting of

The Work, Dr. Thaler would own that painting as personal property. There is no reason why Dr.

Thaler should be any less entitled to the property in a digital painting made by his AI.

        50.     Alternately, or in addition, if the Court holds that an AI-Generated Work is indeed

proper subject matter for copyright protection, then Dr. Thaler owns copyright in The Work by

virtue of being the first party to possess it. “[T]he common and civil law (both of which accept

the desirability of private ownership) have responded with the proposition that the taking

possession of unowned things is the only possible way to acquire ownership of them.” Richard

A. Epstein, Possession as the Root of Title, 13 Georgia Law Review 1221, 1222 (1979). The rule

of first possession is simple, but like accession, foundational to functioning systems of private

property. If the AI made a piece of property, and if no other party was entitled to ownership by

virtue of their relationship to the AI, then The Work was unowned property which Dr. Thaler

took title to by virtue of first possession.

        51.     Although the work for hire doctrine provides one statutory mechanism for a party

other than an author to claim initial ownership, nowhere does the Act prohibit other ownership

mechanisms including pursuant to common law rules of entitlement.

                    D. Dr. Thaler is Also Entitled to The Work Under the Work for Hire Doctrine

        52.     While an AI is not an employee, the Work for Hire Doctrine is sufficiently

flexible to apply in this case. Dr. Thaler built and controlled the AI which generated The Work,

The Work was only created by the AI at Dr. Thaler’s insistence, and The Work only exists due to

Dr. Thaler’s investment.




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       53.     The Supreme Court in Community for Creative Non-Violence v. Reid, 490 U.S.

730 (1989) identified factors that characterize an employment relationship under agency law.

Those factors, including the employer’s control over the work, control over the employee, and

the status and conduct of an employee, all weigh heavily in favor of The Work being treated as a

work for hire. Id., at 751-752. The AI is controlled by Dr. Thaler, the AI only operates at Dr.

Thaler’s direction, and the AI is owned as property by Dr. Thaler.

       54.     The central concern with overapplication of the work for hire doctrine is that it

has the potential to exploit human authors. Employers might acquire copyrights not

contemplated at the time of contracting and which would not be reflected in the agreed-upon

price for employment or a work. See, e.g., Anne Marie Hill, Work for Hire Definition in the

Copyright Act of 1976: Conflict Over Specially Ordered or Commissioned Works, 74 Cornell L.

Rev. 559, 569 (1989). Here, where the author is a machine that has no legal rights, there can be

no concern about exploitation.

       55.     In addition to works created within the scope of employment, certain works

created by independent contractors are also considered works-for-hire. 17 U.S.C. § 101. This

requires that the parties “expressly agree in a written instrument signed by them that the work

shall be considered a work for hire.” Id. However, that requirement was again motivated by the

desire to protect human authors. See, e.g., Anne Marie Hill, Work for Hire Definition in the

Copyright Act of 1976: Conflict Over Specially Ordered or Commissioned Works, 74 Cornell L.

Rev. 559, 569 (1989). In this case, again, The Work was created by the AI while the AI was

under his control and at Dr. Thaler’s request and expense. In the case of an AI-Generated Work,

because an AI has no rights to protect, there is no need for a written instrument for its benefit.




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       56.     While an AI is neither a legal employee nor an independent contractor capable of

executing a contract, it functionally behaves as an employee or independent contractor in

creating AI-Generated Works.

                   E. AI Authorship is Consistent with the Purpose of the Act and the

                       Constitution

       57.     It is important to interpret the Act consistent with its purpose and with the

Constitution. Copyright protection is intended to promote the creation of socially valuable works.

It is “intended definitely to grant valuable, enforceable rights to authors, publishers, etc., without

burden-some requirements; ‘to afford greater encouragement to the production of literary [or

artistic] works of lasting benefit to the world.’” Washingtonian Co. v. Pearson, 306 U.S. 30, 36.

It is also intended to promote dissemination of those works. See, e.g., Golan v. Holder, 132 S. Ct.

873, 888 (2012). The Copyright Clause of the Constitution likewise is intended to promote the

creation and dissemination of new works. Art. I, § 8, cl. 8. The Constitution provides for

Copyright protection, “[n]ot primarily for the benefit of the author, but primarily for the benefit

of the public, such rights are given.” H.R. Rep. No 60-2222, at 7 (2d Sess. 1909).

       58.     Allowing protection of AI-Generated Works is required by the plain language of

the Act. In 1973, the Supreme Court noted that the terms “Writings” and “Authors,” have “not

been construed in their narrow literal sense but, rather, with the reach necessary to reflect the

broad scope of constitutional principles.” Goldstein v. California, 412 U.S. 546, 561 (1973).

       59.     The Supreme Court has also articulated, “[w]hen technological change has

rendered its literal terms ambiguous, the Copyright Act must be construed in light of its basic

purpose.” Twentieth Century Music Corp. v. Aiken, 422 U.S. 151, 156 (1975). For instance, in

Aiken, the issue was whether playing a radio in a restaurant constituted a performance and thus



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an infringement. The meaning of performance was therefore ambiguous given the technology

invented after the 1909 Copyright Act. The Supreme Court held that playing a radio in a

restaurant was not a “performance.” Id., at 162. This was because of a simple logic that a passive

listener cannot be a performer, and “those who listen do not perform, and therefore do not

infringe.” Id., at 159 (citation omitted).

        60.     The Supreme Court has directly stated that “our inquiry cannot be limited to

ordinary meaning and legislative history, for this is a statute that was drafted long before the

development of the electronic phenomena with which we deal here.” Fort. Corp. v. United

Artists Television, Inc., 392 U.S. 390, 395 (1968). Thus, “[w]e must read the statutory language

of 60 years ago in the light of drastic technological change.” Id. In doing so, the Supreme Court

defined an airing over its airwaves as a “performance” of copyright work. Id. Like Aiken, the

court looked at the actual relationship between performers and listeners, to essentially determine

what was going on within the ambit of the Act.

                                       CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION

       (Administrative Procedure Act Violation for Denial of Plaintiff’s Application)

        61.     Plaintiff re-alleges and incorporates by reference every allegation contained in the

proceeding paragraphs.

        62.     The USCO’s second refusal to register the Work constituted final agency action

and Plaintiff seeks to reverse that refusal here.

        63.     For the reasons stated above, requiring human authorship for registration of

copyright in a work is contrary to law.

        64.     Defendants’ refusal to register the copyright claim in the work is contrary to law.



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        65.    The agency actions here were arbitrary, capricious, an abuse of discretion and not

in accordance with the law, unsupported by substantial evidence, and in excess of Defendants’

statutory authority.

        66.    The refusal to register the copyright claim in the Work should be set aside and the

application reinstated.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court:

        1.     Issue an order compelling Defendants to set aside their refusal to register the

Work.

        2.     Award of costs and its reasonable attorney’s fees to Plaintiff; and

        3.     All other relief as may be appropriate.




Dated: June 2, 2022                          BROWN, NERI, SMITH & KHAN LLP


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